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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MISSOURI
                                SOUTHEASTERN DIVISION

 In Re:                                         )     Case No. 18-42196
                                                )
 MARK STEVEN FAUSETT,                           )     Chapter 7
                                                )
                        Debtor.                 )

          MOTION TO TRANSFER VENUE TO SOUTHEASTERN DIVISION AND
               APPOINT SOUTHEASTERN DIVISION PANEL TRUSTEE

          COMES NOW Debtor, by and through his attorneys, The Limbaugh Firm, and moves the

 Court to move his case to the Southeastern Division and appoint a Southeastern Division panel

 trustee for the following reasons:

          1.    Debtor is employed in the Southeastern Division of Missouri.

          2.    Debtor’s attorney is from the Southeastern Division.

          3.    The attorney for the primary creditor resides in the Southeastern Division.

          4.    Debtor occasionally stays at the Kentucky address overnight when he has some

 work in that area. Debtor continues to be a resident of Missouri and of the Southeastern Division.

          5.    Debtor receives his mail in Jackson, Cape Girardeau County, Missouri, which is

 located in the Southeastern Division. Debtor continues to have only a Missouri driver’s license.

          6.    Debtor’s attorney has communicated with Tracy A. Brown, the bankruptcy trustee

 currently assigned to this case. Trustee Brown has no objection to the venue being transferred to

 the Southeastern Division and a Southeastern Division trustee being appointed to this case.

          WHEREFORE, Debtor prays that the Court transfer venue to the Southeastern Division

 and appoint a Southeastern Division panel trustee. Debtor requests such other and further relief

 as the Court may deem proper under these circumstances.
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                                              mpayne@limbaughlaw.com

                                              By /s/ J. Michael Payne________________
                                              J. Michael Payne #28733MO

                                              ATTORNEYS FOR DEBTOR


                                CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the Motion to Transfer Venue to Southeastern
 Division and Appoint Southeastern Division Panel Trustee was filed electronically on April 16,
 2018, with the United States Bankruptcy Court, and has been served on the parties in interest via
 e-mail by the Court’s CM/ECF System as listed on the Court’s Electronic Mail Notice List.



                                              /s/ J. Michael Payne         ______




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